TO:     Ms. Aleta Trauger, Judge (US District Court, Middle District Of Tennessee)
                                                                                RtCETVED
FROM: Stephen
         p    Hu ueleY, Tennessee Death Pow Prisoner                          in Clerks Office

DATE: April 22, 2019                                                           MAY 0 6 2019
                                                                           U.S. District Court
                                                                          Middle District of TN
RE:     "Administratively Closed." Case No. 3:11-cv-1115

       Dear Judge Trauger,
            Attached you will find my latest correspondence with the
Warden(s), and TDOC Commissioner, Mr. Tony Parker; I feel that I
have been more than reasonab le, and patient in my efforts to resolve
this matter; Please review, and consider this latest correspondence in
your consideration of allowing my case to be reopened; I apoligize
for not being able to send you copies of the reports mentioned in this
latest correspondence, the Federal Public Defenders Office only sent
me enough copies to send to the Warden(s), Unit Manager,
Counselor, and the -Institutional PsyD (Dr. Dina Kulenovic).
       Thank you for your time, and I hope to hear from you in the
very near future.
                               Thank you
                              „Sincerely,


                       -Stephefi Hugueleyl# 112 42
                       RMO.1 2-A-201
                       7475 Cockrill Bend Blvd.
                       Nashville, TN
                                     37209




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 ~:          Mr. Tony Mays, RMSI, Warden
             Mr. Ernest Lewis, RMSI, AWOS
             Mr. Brandon Watwood, RMSI, AWOT
             Mr. Michael Keys, Unit Manager (Death Row)
             Mr. Tony Parker, TDOC Commissioner
             Ms. Aleta Trauger, Judge (US District Court, Middle District. of Tennessee)
             Ms. Arny Harwell, Chief Assistant Federal Public Defender
             Mr. Paul S. Davidson, Attorney (Waller Lansden Dortch & Davis, LLPnCENED
                                                                                    in Clerk's Office
FROM:        Stephen Hugueley #112195
                                                                                      MAY 06 2019
DATE:        April 22, 2019                                                       U.S. District Court
                                                                                Middle District of TN
        In regards to the correctional officials to which this is being sent, you may
 be happy to know that this will be my last direct correspondence with you on
 this matter, I have more than exceeded the courts rentjirernents to try and
 resolve this on an institutional level; iii a separate correspondence wh ich I have
 sent to you via the institutional messenger mail dated April 22, 2019 you have
 received the following two (2) papers: Washington University Journal of Law
 & Policy: Psychiatric Effects of Solitary Confinement (January 2006); and
 Solitary Confinement and Mental Illness in U.S. Prisons: A Challenge for
 Medical Etilics (2010). These two papers should be more than needed to provide
 you with the facts on the negative effects of long terns segregation, and it would
 be safe to assume that experts would agree that these effects are compounded
 when you add in the severity of a death sentence. Should you need more
 information I have provided you with a list of references at the end of this letter
 to help you better understand the psychological effects of segregation on
 prisoners, those effects are not only experienced by me on death row, but also
 those on units 1 & 3; Perhaps this is a matter that should be addressed for the
 entire TDOC, being that segregation units within the TDOC have tripled in
 number in the last 10-15 years, and now the State of Tennessee has well over
 one thousand prisoners on it`s segregation units, and the financial incentive (the
 TDOC receives more money for a segregated prisoner than they do for a non-
segregated prisoner) to have more segregated prisoners will no doubt lead to
more inmates being placed on segregation. With that said.
       I meet ALL of the TDOC and Institutional guidelines for a level. I have
been four (4) years without a disciplinary report, an i have made an effort to be
in complience with unit rifles and regulations, which is more than can be said
for the dozen or more inmates who have had, lost and regained their levels in
the last four (4) years. I would like to have my chance at a regular level,
however, if it is your intention to keep deifying me the same rights and
opportunities that you have given to other death row prismler s, you should at
the very least start a new level (See attached Revised Restricted B-Level
proposal); The personal property I am seeking on this new level would act as an
alternative to the many psychological and emotional benefits that come with
having a regular level, and it would help to alleviate the added stress that is a
recognized result of long term segregation.

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      According to attorneys, as of January 2019 EVERY inmate on this unit
other than myself, and the newest inmate Urshawn Miller #455407 has had a
level ( Miller would have had a level already had he not tested positive for
drugs). Taking into account the most recent assault on death row, there are now
eleven (11) C-Level, one (i) B-Level, and forty-four (44) A-Level inmates on
this unit, and according to records approximately 90% of inmates on death row




        In the last year or two Unit Manager Keys has started writing on my le vel
 review that I am being denied a level for the "safety and security" of the
 institution, etc. 1 cannot help but think that this is a,joke since I have offered to
 point out a few "holes" in death row security and he told me to my face in his
 office in app. February or March 2017 that he does NOT want to know what the
 "holes" are, and this administration has refused my many offers to point out the
 numerous "holies" in the death row units security; You state that you do not want
 me to have a level for "security" purposes, yet you do not want to know what the
 "holes" in security are, thus far no one has exploited the "holes" in the security
so you play the role of an ostrich, burying your head in the sand refusing to
 ackonowledge the "holes" hoping no one takes advantage of them.. You use
 "security" as a blanket to discriminate against me, and yet you refuse to plug the
 "holes" in security on the death row unit, TDOi Policy states that "security",
 that is, these "holes" in death row security are non-grievable, therefore, the only
Option would be to address these "holes" in court since the current administra-
tion chooses to try and utilize "Security" as a blanket to discriminate against me.
       "Security" was NOT an issue when I was receiving unrestrianed contact
visits from 2002—app. early 20114, nor was "security" an issue when tine prison
administration agreed in an email to my attorneys to start letting me get
unrestrained contact visits with my family and friends, along with other
privileges, How can you now with a straight face claim "security" when at the
time the agreement was made I had not been disciplinary free for long.
       Fact is, the prison administration acting capriciously without cause chose
not to uphold their end of the agreement which was made with I and my
attorneys, and, now that I have been disciplinary free for four (4) years you
want to invoke and use "security" as the blanket to discriminate against me.
       At the present time i am the ONLY inmate who was sentenced to death
that has been excluded from the level system from the beginning. You claim
that it is due to my history before being sentenced to death, this is not a
legitimate claim, or cause since:.>yli~ h€                               ha


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      Can you honestly say that there is no discrimination of any kind dierected
toward me?
     Many of those currently on death row have lost their levels numerous
times only to regain them, some with assaults on both guards and inmates,
others for drugs, having sex on visits, having sex with employees; and, tlloult
... i ....      %!:;'::.%:.%.:;•:.%.:%.~'.%:..:::%::::. ..Iii:.%.%1.I%%~.Iii:Liii%rll%i>:%.Yl.%iiii%i:::i:ii:~~.:%:iiY.i::.:..: is is ~.::i: ii:   ... ...




inp to ; iow h hr`5 - I eye1        k dad Is Q~uc g iri having c T1.t c vi .3 I have
NEVER had an issue relatto   ed recreational drugs or visitation and I am denied
the opportunity to have unrestrained contact visits with my family and friends,
while these two African American inmates are still allowed to have unrestrained
contact visits with their familv, and friends. t 4S..I1~S..:t ~f , 1~YtUs clta~rtt



       In recent years the courts and other States have recognized the fact that
long term segregation is psychologically and emotionally damaging; I have
been segregated for seventeen (17) years, and not only have I started suffering
psychologically and emotionally, my physical health along with. my eye sight
has been effected because of the seventeen (17) years I have been confined in a
small space. Long term segregation is damaging, this is NOT a conjecture on my
part, this is a fact that Tennessee courts recognized even in the 1980's when the
death row level system was brought about; It is also why many States have
started doing away with long term segregation, some have done so willingly,
    Y •Y          .Y              1              Y                         1               1              Y        .Y




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                                             Thank You
                                             Sincerely,




CC: Ms. Dina Kulenovic, PsyD, RMSI Clinical Director
    W. Warren Tate, Counselor (death row)

                                         —References—
    Madrid v. Gomez, 889 F. Supp. 1146 (N.D. Cal. 1995), rev'd and remanded, 160 F.3d 1030 (9th Cir.
    1998).
2. Libby v. Commissioner of Corrections, 432 N.E2d 486 (Klass. 1982)
 3. See Stuart Grassian & Nancy Friedman, Effects of Sensory Deprivation in Psychiatric Seclusion and
    Solitary Confinement, 81NT°L J.L. & PSYCHIATRY 49 (1986); Stuart Grassian, Psychopathological
    Effects of Solitary Confinement, 140 AM. J. PSYCHIATRY 1450 (1983).
4. Langley v. Coughlin, 716 F. Supp. 522 (S.D.N.Y. 1989); and Langley v Coughlin, 709 F. Supp. 482
    (S.D.N.Y. 1989), aff`d, 888 F.2d 252 (2d Cir. 1989),
5. Barddini v Meese, 671 F. Supp. 432 (D     _ D.C. 1988), reVd sub nom., Baraldini v. `lhomhurgh, 884
    F 2d 615 (JR.C. Cir. 17217).
6. 17ameed v. Cougidin, 571.3d 217 (2d Cir. 1975)
7. See Richard H. Walters et al., Effects of Solitary Confinement on Prisoners, 119 AM. J.
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8. Reyes H: the worst scars are in the mind: psychological torture. int. Rev Red Cross 89:691- 617,
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7. Basoglu M, Livanou M, Crnobaric C: torture vs. other cruel, inhuman and degrading treatment: is the
    distinction real or apparent? Arch Gen Psychiatry 64:277- 85, (2007).
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     and Rehabilitation, 1999-2004. Psychiatriatric Sery 59:677-81, (2008).
11. White T, Schimmel D, Frickey R: A comprehensive analysis of suicides in federal prisons: a fifteen-
    year review. J Correct Health Care 9:321-43, (2002).
12. International Covenant on Civil and Political Rights. Available at
    http://wwwl.umn.ed-u/humanrts/instree/b3ccpr.htm.
13. Convention Against Torture and Other Cruel, inhuman or Degrading Treatment or Puishment.
    Available at http://wwwl.umn.edu/humanrts/instree/h2catoe.htm.




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                                 Restricted B-Level
 ONLY for inmates mho are permanently excluded from receiving regular A &
 B Levels. Must be discipl4wy free for twenty four (24) months; Level may be
 lost for class A or B disciplinar-yr conviction, dependent upon the scriosness.
             NO Unrestrained contact with staff/employees or inmates.

 Visitation: Unrestrained contact visitation with family, friends, and attorneys: Restraints
will be removed through hole in door after inmate is secured in visiting room with visitors
(This is Re a regular B-level); Visits will be limited to four (4) hours on weekends, and
holidays (This is ReA-Level). Visitors VV ML be allowed to purchase food items from vending
machines for Visit (This is like regular A & B Levels). These type of unrestrained visits pose absolutely no
threat to inmates or ,staff, and are exactly the type of visits I received in the past,
Recreation: Daily for 90 minutes. Restricted B-Level will T40T be allowed to have
recreation in cages with other inmates (A & B Levels are allowed to have recreation in cages with other inmates);
Mail/'&&_age_s:. Inmates on Restricted B-Level in addition to holiday, and seasonal food
packages will be allowed to receive personal property packages during the months of
January, April, July, October. (this is like A-Level)
Personal- Property: In addition to the -normal property allowed, Restricted B-Level inmates
will be allowed to have the following "Unique/Special" personal property items: TDOC
Policy #504.011 Inmate Personal Property, Page 2, Section P, states: ':..lnn?ates sentenced to
death may, receive (personal property) items that are Ut QUE to that particulargroup."
(these items pose absolutely NO security concern, and approval is within the Wardens
discretion, and are an alternative to the many other benefits received on regular A & B
Levels, and are ment to help alleviate the psychological and emotional stress of long term
segregation) ONLY Restricted B-Level will be allowed to have these personal property
items:
1— 24" flat screen television (NO Smart TV's) NOTE: We are currently allowed to have 15" flat screens, the
overall dimensions of the 24" are minimal, it is only 6" wider and approximately 21h" taller. TV will fit through "pie-flap"
(.Dimensions of LG 24" flat screen 21.9"W x 13.6" H x 2.1"D) on Amazon.com

I — Preloaded (No cartridges needed) TV Game Console (These consoles have no intemet, ethernet capabilities)
Choices limited to:
      Cony Play Station Classic with 2 controlers, AC power adapter, game memory card, and
      extra HDMI cord.
      Nintendo SNES Classic Edition Game with. 2 controlers, AC Power Adapter, and extra
      HDMI Cord.
     Nintendo NES Classic Edition with 2 controlers, AC Power Adapter, and extra HDMI
     cord.

40- Compact disc (We are currently allowed twenty [20], an additional twenty [20] would help to reduce some
of the psychological and emotional stress associated with long term segregation).

.Arts & Crafts: Restricted B-Level inmates will be allowed the same approved in cell arts
                     & crafts items as regular B-level; Attorneys for indigent inmates will be
                     allowed to order in cell arts & crafts items for them; All items must be
                     approved in advance.

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